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                       UNITED STATES OF AMERICA
                     UNITED STATES DISTRICT COURT
                 FOR THE WESTERN DISTRICT OF MICHIGAN
                          SOUTHERN DIVISION



RUDOLPH BETANCOURT, INDIVIDUALLY, )
                                    )
                   Plaintiff,       )        Case No. 1:16-cv-1423-PJG
                                    )
v.                                  )        Honorable Phillip J. Green
                                    )
CADILAKE RESORT IV LLC., a Michigan)
Limited Liability Company           )
                                    )              JUDGMENT
                   Defendant.       )
____________________________________)

      In accordance with the Consent Decree and Order filed this date:

      IT IS ORDERED that upon completion of the responsibilities set forth in the

Decree and Order, that Defendant be and is hereby found to be in compliance with the

Americans with Disabilities Act, 42 U.S.C. § 12101 et. seq. and in compliance with

Michigan Law as of the date of this Judgment.

      IT IS FURTHER ORDER that this matter is hereby DISMISSED with prejudice.




Dated: August 7, 2017                         /s/ Phillip J. Green
                                             PHILLIP J. GREEN
                                             United States Magistrate Judge
